Case 2:10-md-02179-CJB-DPC Document 1440-5 Filed 02/28/11 Page 1 of 2

Case 2:10-md-02179-CJB-DPC Document 1440-5 Filed 02/28/11 Page 2 of 2

Overall Program Statistics
(Status Report as of February 26, 2071}

+. Individual

2, Business

403,230

89,545

Represented Claimants: 14,837

Claimants by State
10% 2% 1%

49% 39%

33%
BLA BFL GAL BMS a TX w--

a. indivickra! 73.021 365.421, 185.52

b, Business 19,357 . 504, 736,315.88
2. Emergency Advanced Payment (EAP) _ 168,873 "2,871 429,317.88 |

a. individual oe "423,524
wp. Business "45,349

‘Separate Fund f

491 49/05 69 ee

“rg 360,840

000.00 |

+ 2, Business

'g 483,235,000.00

in: Payments

46,042-7.

1. Individual

: 2. Business

873,685.52
469,047.39

8 10,082,268 49 |

$  718106.09

57.208,068.22

907 ,534,7

. Final Offers: Intefim Submissions

16,365,520.61

048,924.43 |

: 2. Finat Offers: Full Review Submissions

5006. §  40,842,547.64

958,610.35 |

‘1, Final: Quick Pay 503 Roc oses ne BAF OFS.066.00
| 2. Final: Full Review (nel of Ciaimants with 3 $ 40,039,788.49
1 Quick Payment or interim Submissions} eames cs

| 3. laterim Payment tnet of Claimants with 866 $ 16,042,732.91
__Adyick Paymenl Subniissions)

"Total 78 870,157,501.40

1. Final: Quick Pay

"74 687

360, 840,600.00_

$
| 2. Final: Full Review (net of Claimants with j
i Quick Payment or interim Submissions} 77,603 . 1 | $ ean 7,500.00
| 3. lterim Payment inet of Claimaats with 42.638 ABD 52 $ 4.573.GB5.52 |
i _Quick Payment Submissions} ' ‘ :
‘Sub-Total 194,728 73,024 73,028 $ 365,427,185

5 453,236 000.00.
! . - wees : $ 10,032, 268.49
2 Quick Faynient or interim Submissions} a eusuneee ne an eosigeces coe
: 3. interim Payment met of Claimants with 7.49 *
i Quick Payment Submissions} 14,456 ‘4 : 4 $ 11,468,047. ug
‘Sub-Total _ 48,703 49,387 19,374 $ __504,736,315.88 4

Overall Program Statistics {1 of 8)

GCCF Overall Program Statistics,

hiip:/waww.gulfcoasiclaimsfacility.com/GCCF_Overall

port.pdf, at 1 (last visited Feb. 28, 2011).

Status_Re
